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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


             UNITED STATES OF AMERICA                :
                                                     :
                                                     :
                   v.                                :   CRIMINAL ACTION NO.
                                                     :   1:10-CR-00086-12-RWS
             WILLIAM ESPINOZA ,                      :
                                                     :
                         Defendant.                  :



                                                ORDER

                   This case is before the Court for consideration of the Report and

             Recommendation [719] of Magistrate Judge E. Clayton Scofield, III. After

             reviewing the Report and Recommendation and Defendant’s Objections [724]

             thereto, the Report and Recommendation is received with approval and adopted

             as the Opinion and Order of this Court. In his Objections, Defendant takes

             issue with Judge Scofield’s conclusion that the gun was found in the open. The

             court finds that the record supports Judge Scofield’s conclusion. T[571]-29.

             There was no evidence that the gun was in a closed suitcase. Therefore,

             Defendant’s Objections are overruled.




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                   Based on the foregoing, Defendant’s Motion to Suppress the out of court

             identification [401] and Motion to Suppress Evidence [400] are DENIED.

                   SO ORDERED this 25th day of April, 2013.




                                                  _______________________________
                                                  RICHARD W. STORY
                                                  UNITED STATES DISTRICT JUDGE




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